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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF MISSISSIPPI

NORTHERN DIVISION
JEREMIAH ROBINSON PLAINTIFF
V. CIVIL ACTION NO. 3:18-CV-00755-HTW-LRA
ROCO MANAGEMENT, LLC;
ROCO OF JACKSON, LLC; and
KIARA BROWN DEFENDANTS

AGREED FINAL JUDGMENT OF DISMISSAL WITH PREJUDICE

This cause is before the Court on the joint motion of Plaintiff and Defendants to
fully and finally dismiss this action and all defendants with prejudice. This Court, having
considered the motion and the agreement of the parties, finds that the motion is well
taken and is hereby granted, and all claims against all defendants shall be dismissed with
prejudice.

IT IS, THEREFORE, ORDERED AND ADJUDGED that this civil action and all
of the claims of Plaintiff Jeremiah Robinson are fully and finally dismissed with
prejudice, with each party to bear its own costs and attorney fees.

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SO ORDERED, this © ___ day of

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DISTRICT COURT JUDGE 0

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AGREED AND APPROVED:

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